
In re Academy Park Improv. Assn.; Butler, Hilliard Mr.; Butler, Hilliard Mrs.; Charles, Louis J. Mr.; Charles, Louis J. *1269Mrs.; Green, Eugene Mr.; Green, Eugene Mrs.; Guillory, John Mr.; Guillory, John Mrs.; Henry, Sam Mr.; Henry, Sam Mrs.; Jackson, Herbert Mr.; Jackson, Herbert Mrs.; Jackson, Joseph Mr.; Jackson, Joseph Mrs.; Jackson, Michael Mr.; Jackson, Michael Mrs.; Jarrow, O’Neil Mr.; Jarrow, O’Neil Mrs.; Judge, Marie Mrs.; Madison, James Mr.; Madison, James Mrs.; Martin, Laurence J. Mr.; Martin, Laurence J. Mrs.; Martin, Lorena; Malveaux, Albert Mr.; Malveaux, Albert Mrs.; Pirón, A.A. Mr.; Pirón, A.A. Mrs.; Price, Robert Mr.; Price, Robert Mrs.; More, Adam Rose Mr.; More, Adam Rose Mrs.; Singleton, Jimmie Dr.; Singleton, Jimmie Mrs.; Williams, Lionel Mr.; Wilson, Alice; Young, Robert Mr.; Young, Robert Mrs.; Crockett, Nolen J. Mr.; Crockett, Nolen J. Mrs.; Banks, Lawrence E. Mr.; Banks, Lawrence E. Mrs.;— Plaintiff(s); applying for writ of certiorari and/or review, supervisory and/or remedial writs; to the Court of Appeal, Fourth Circuit, No. 90CW-0071; Parish of Orleans, Civil District Court, Div. “C”, No. 81-13535.
Granted. In limine order vacated. Trial court did not abuse discretion.
